                                             Case 4:22-cr-00612 Document 324-1 Filed on 07/10/23 in TXSD Page 1 of 5


                                                                             Episode 1: Trading in ABVC between August 10, 2021 and August 11, 2021

 Last Name, First Name         Twitter Handle               Discord Handle                 # of Tweets         # of Discord Messages           # of Shares Bought                 # of Shares Sold                Profit (FIFO)
Rybarczyk, John           @Ultra_Calls              Ultra#0374                                            31                       ‐                            340,582                           340,582   $                59,345
Deel, Gary                @notoriousalerts          Gary (Mystic Mac) 🍀#7345                             ‐                         ‐                             50,381                            50,381   $                 2,025
Sabo, Francis                                       Ricky Bobby 🏁🏎#7407                                  ‐                         ‐                             10,099                            10,099   $                  (635)
Total                                                                                                     31                       ‐                            401,062                           401,062   $                60,736

Notes:
"Profit (FIFO)" calculates a profit for every sale equal to the sale price minus the purchase price of the earliest‐purchased shares not yet matched to a sale.
The FIFO method works the same for short positions as for long positions but in the inverse—it matches purchases against the earliest sale that has not already been covered.
"# of Tweets" and "# of Discord Messages" represents the number of public Twitter posts and Discord messages, respectively, by a trader during the episode that either (i) have been alleged to be false by the DOJ or (ii) refer to ABVC
                                        Case 4:22-cr-00612 Document 324-1 Filed on 07/10/23 in TXSD Page 2 of 5


                                                                                     John Rybarczyk (@Ultra_Calls / Ultra#0374)
                                                               Trade, Tweet, and Discord Activity in ABVC between August 10, 2021 and August 11, 2021

 #          Account Name   Brokerage   Activity     Date                   Time                 Side               No. Shares              Price ($)            Volume ($)           Total No. Shares          Profit (FIFO)         False/Misleading Flag
 [1]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:34:11 AM               BUY                         3,000 $                  3.29 $               9,868                   3,000
 [2]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:34:20 AM               BUY                         3,000 $                  3.23 $               9,701                   6,000
 [3]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:34:30 AM               BUY                         3,000 $                  3.29 $               9,863                   9,000
 [4]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:35:01 AM               BUY                         3,000 $                  3.30 $               9,890                  12,000
 [5]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:35:22 AM               BUY                         2,000 $                  3.30 $               6,600                  14,000
 [6]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:36:48 AM               BUY                         2,000 $                  3.30 $               6,600                  16,000
 [7]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:37:08 AM               BUY                         2,000 $                  3.40 $               6,800                  18,000
 [8]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:37:18 AM               BUY                         2,000 $                  3.34 $               6,675                  20,000
 [9]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:37:28 AM               BUY                         2,000 $                  3.39 $               6,783                  22,000
[10]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:44:29 AM               BUY                         2,000 $                  3.40 $               6,800                  24,000
[11]   Rybarczyk, John      Etrade     Trade      08/10/2021           09:44:38 AM               BUY                         2,000 $                  3.40 $               6,793                  26,000
[12]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:00:39 AM               BUY                         2,000 $                  3.24 $               6,481                  28,000
[13]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:00:51 AM               BUY                         2,000 $                  3.25 $               6,500                  30,000
[14]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:01:06 AM               BUY                         2,000 $                  3.30 $               6,600                  32,000
[15]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:25:09 AM               BUY                         2,000 $                  3.22 $               6,444                  34,000
[16]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:25:34 AM               BUY                         2,000 $                  3.25 $               6,495                  36,000
[17]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:25:49 AM               BUY                         2,000 $                  3.27 $               6,548                  38,000
[18]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:28:33 AM               BUY                         2,000 $                  3.30 $               6,598                  40,000
[19]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:53:41 AM               BUY                         2,000 $                  3.33 $               6,654                  42,000
[20]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:54:37 AM               BUY                         2,000 $                  3.30 $               6,604                  44,000
[21]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:54:57 AM               BUY                         2,000 $                  3.33 $               6,660                  46,000
[22]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:55:14 AM               BUY                         2,000 $                  3.35 $               6,700                  48,000
[23]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:55:29 AM               BUY                         2,000 $                  3.35 $               6,700                  50,000
[24]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:57:29 AM               BUY                         6,796 $                  3.39 $              23,047                  56,796
[25]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:57:30 AM               BUY                           100 $                  3.40 $                 340                  56,896
[26]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:57:34 AM               BUY                           100 $                  3.40 $                 340                  56,996
[27]   Rybarczyk, John      Etrade     Trade      08/10/2021           10:59:11 AM               SELL                         (700) $                 3.56 $              (2,492)                 56,296 $                     189
[28]   Rybarczyk, John      Etrade     Trade      08/10/2021           11:31:11 AM               BUY                         2,500 $                  3.29 $               8,228                  58,796
[29]   Rybarczyk, John      Etrade     Trade      08/10/2021           11:31:26 AM               BUY                           200 $                  3.30 $                 660                  58,996
[30]   Rybarczyk, John      Etrade     Trade      08/10/2021           11:53:03 AM               BUY                         5,403 $                  3.30 $              17,830                  64,399
[31]   Rybarczyk, John      Etrade     Trade      08/10/2021           11:54:10 AM               BUY                         4,800 $                  3.30 $              15,840                  69,199
[32]   Rybarczyk, John                 Tweet      08/10/2021           02:43:00 PM      $ABVC HALTED UP ⬆
[33]   Rybarczyk, John      Etrade     Trade      08/10/2021           02:43:09 PM               BUY                         7,394 $                  3.52 $              25,992                  76,593
[34]   Rybarczyk, John                 Tweet      08/10/2021           02:45:00 PM      Will be hawking $ABVC looks clean
[35]   Rybarczyk, John      Etrade     Trade      08/10/2021           02:49:17 PM               SELL                      (18,703) $                 3.81 $             (71,350)                 57,890   $               9,648
[36]   Rybarczyk, John      Etrade     Trade      08/10/2021           02:49:18 PM               SELL                          (22) $                 3.75 $                 (83)                 57,868   $                   9
[37]   Rybarczyk, John      Etrade     Trade      08/10/2021           02:49:19 PM               SELL                       (4,600) $                 3.75 $             (17,250)                 53,268   $               1,663
[38]   Rybarczyk, John      Etrade     Trade      08/10/2021           02:49:20 PM               SELL                       (3,100) $                 3.75 $             (11,625)                 50,168   $               1,271
[39]   Rybarczyk, John      Etrade     Trade      08/10/2021           02:49:21 PM               SELL                       (2,800) $                 3.75 $             (10,500)                 47,368   $               1,408
[40]   Rybarczyk, John      Etrade     Trade      08/10/2021           02:49:22 PM               SELL                       (1,700) $                 3.75 $              (6,375)                 45,668   $                 769
[41]   Rybarczyk, John      Etrade     Trade      08/10/2021           02:49:24 PM               SELL                       (1,000) $                 3.76 $              (3,757)                 44,668   $                 506
[42]   Rybarczyk, John      Etrade     Trade      08/10/2021           02:49:25 PM               SELL                       (2,700) $                 3.75 $             (10,125)                 41,968   $               1,392
[43]   Rybarczyk, John      Etrade     Trade      08/10/2021           02:49:26 PM               SELL                       (1,968) $                 3.75 $              (7,387)                 40,000   $                 961
[44]   Rybarczyk, John                 Tweet      08/10/2021           02:50:00 PM      $ABVC 2ND HALT UP ⬆
[45]   Rybarczyk, John      Etrade     Trade      08/10/2021           03:04:48 PM               BUY                           757 $                  3.94 $               2,983                  40,757
[46]   Rybarczyk, John      Etrade     Trade      08/10/2021           03:04:49 PM               BUY                           100 $                  3.94 $                 394                  40,857
[47]   Rybarczyk, John      Etrade     Trade      08/10/2021           03:04:52 PM               BUY                           100 $                  3.94 $                 394                  40,957
[48]   Rybarczyk, John      Etrade     Trade      08/10/2021           03:04:54 PM               BUY                            50 $                  3.94 $                 197                  41,007
[49]   Rybarczyk, John      Etrade     Trade      08/10/2021           03:04:58 PM               BUY                           900 $                  3.94 $               3,546                  41,907
[50]   Rybarczyk, John      Etrade     Trade      08/10/2021           03:05:05 PM               BUY                         8,093 $                  3.94 $              31,886                  50,000
[51]   Rybarczyk, John      Etrade     Trade      08/10/2021           03:12:15 PM               BUY                         3,446 $                  3.60 $              12,406                  53,446
[52]   Rybarczyk, John      Etrade     Trade      08/10/2021           03:12:19 PM               BUY                           200 $                  3.60 $                 720                  53,646
[53]   Rybarczyk, John      Etrade     Trade      08/10/2021           03:12:20 PM               BUY                           300 $                  3.60 $               1,080                  53,946
[54]   Rybarczyk, John      Etrade     Trade      08/10/2021           03:12:25 PM               BUY                         1,390 $                  3.60 $               5,004                  55,336
[55]   Rybarczyk, John                 Tweet      08/10/2021           03:13:00 PM      $ABVC In chat 11:06 EST. $3.30’s to $4.46. This is the soak zone for a swing or potentially another DT"
[56]   Rybarczyk, John                 Tweet      08/10/2021           03:16:00 PM      $ABVC curl
[57]   Rybarczyk, John                 Tweet      08/10/2021           03:21:00 PM      $ABVC Watch for the re‐break of $4
[58]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:29:27 PM               BUY                         2,267 $                  3.36 $               7,627                  57,603
[59]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:29:31 PM               BUY                         2,000 $                  3.40 $               6,800                  59,603
[60]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:29:32 PM               BUY                             1 $                  3.40 $                   3                  59,604
[61]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:29:34 PM               BUY                         1,000 $                  3.40 $               3,400                  60,604
[62]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:29:35 PM               BUY                         2,000 $                  3.40 $               6,800                  62,604
[63]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:29:38 PM               BUY                         1,733 $                  3.40 $               5,892                  64,337
[64]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:29:43 PM               BUY                           500 $                  3.40 $               1,700                  64,837
[65]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:29:44 PM               BUY                            90 $                  3.40 $                 306                  64,927
[66]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:29:57 PM               BUY                         6,320 $                  3.40 $              21,488                  71,247
[67]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:29:59 PM               BUY                           328 $                  3.40 $               1,115                  71,575
[68]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:00 PM               BUY                           300 $                  3.40 $               1,020                  71,875
[69]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:29 PM               BUY                         1,572 $                  3.40 $               5,345                  73,447
[70]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:34 PM               BUY                            50 $                  3.37 $                 169                  73,497
[71]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:38 PM               BUY                         3,000 $                  3.40 $              10,200                  76,497
[72]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:40 PM               BUY                         1,000 $                  3.40 $               3,400                  77,497
[73]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:41 PM               BUY                         1,000 $                  3.40 $               3,400                  78,497
[74]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:43 PM               BUY                         1,130 $                  3.40 $               3,842                  79,627
[75]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:45 PM               BUY                         1,950 $                  3.40 $               6,630                  81,577
[76]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:46 PM               BUY                         1,500 $                  3.40 $               5,100                  83,077
[77]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:47 PM               BUY                         1,000 $                  3.40 $               3,400                  84,077
[78]   Rybarczyk, John      Etrade     Trade      08/10/2021           04:30:53 PM               BUY                           500 $                  3.40 $               1,700                  84,577
                                 Case 4:22-cr-00612 Document 324-1 Filed on 07/10/23 in TXSD Page 3 of 5


 [79] Rybarczyk, John   Etrade   Trade   08/10/2021   04:30:56 PM            BUY                            759 $                 3.40 $               2,581                  85,336
 [80] Rybarczyk, John   Etrade   Trade   08/10/2021   04:58:08 PM            BUY                          2,665 $                 3.35 $               8,928                  88,001
 [81] Rybarczyk, John   Etrade   Trade   08/10/2021   04:59:36 PM            BUY                          1,914 $                 3.35 $               6,412                  89,915
 [82] Rybarczyk, John   Etrade   Trade   08/10/2021   04:59:37 PM            BUY                        25,820 $                  3.35 $             86,497                  115,735
 [83] Rybarczyk, John   Etrade   Trade   08/10/2021   04:59:43 PM            BUY                        25,000 $                  3.35 $             83,750                  140,735
 [84] Rybarczyk, John   Etrade   Trade   08/10/2021   04:59:45 PM            BUY                          2,200 $                 3.35 $               7,370                 142,935
 [85] Rybarczyk, John   Etrade   Trade   08/10/2021   04:59:46 PM            BUY                          7,065 $                 3.35 $             23,668                  150,000
 [86] Rybarczyk, John            Tweet   08/10/2021   05:06:00 PM   $ABVC Dirt cheap, was $29’s https://t.co/F95fgX34YM
 [87] Rybarczyk, John   Etrade   Trade   08/10/2021   05:06:16 PM            BUY                        45,000 $                  3.35 $           150,750                   195,000
 [88] Rybarczyk, John   Etrade   Trade   08/10/2021   05:06:17 PM            BUY                          5,000 $                 3.35 $             16,750                  200,000
 [89] Rybarczyk, John            Tweet   08/10/2021   05:07:00 PM   $ABVC Most recent offering was $6.25/share. Bought offering. I mean come on.
 [90] Rybarczyk, John   Etrade   Trade   08/10/2021   05:31:26 PM            BUY                            156 $                 3.29 $                 513                 200,156
 [91] Rybarczyk, John            Tweet   08/10/2021   05:35:00 PM   Didn’t post much because I didn’t see anything that would go minimum 50%. Only one on my radar that I think could blow up premarket is $ABVC ; their bought offering was $6.25. So that’s why we can see minimum 50% here
 [92] Rybarczyk, John   Etrade   Trade   08/10/2021   05:48:18 PM            BUY                            200 $                 3.49 $                 698                 200,356
 [93] Rybarczyk, John   Etrade   Trade   08/10/2021   05:48:32 PM            BUY                            411 $                 3.49 $               1,434                 200,767
 [94] Rybarczyk, John   Etrade   Trade   08/10/2021   05:48:52 PM            BUY                          1,000 $                 3.49 $               3,490                 201,767
 [95] Rybarczyk, John   Etrade   Trade   08/10/2021   05:49:49 PM            BUY                          1,920 $                 3.54 $               6,797                 203,687
 [96] Rybarczyk, John   Etrade   Trade   08/10/2021   05:51:50 PM            BUY                          1,134 $                 3.54 $               4,014                 204,821
 [97] Rybarczyk, John   Etrade   Trade   08/10/2021   05:52:08 PM            BUY                          1,000 $                 3.54 $               3,540                 205,821
 [98] Rybarczyk, John   Etrade   Trade   08/10/2021   05:52:27 PM            BUY                             68 $                 3.54 $                 241                 205,889
 [99] Rybarczyk, John   Etrade   Trade   08/10/2021   05:52:40 PM            BUY                          1,000 $                 3.54 $               3,540                 206,889
[100] Rybarczyk, John   Etrade   Trade   08/10/2021   05:52:54 PM            BUY                            997 $                 3.54 $               3,529                 207,886
[101] Rybarczyk, John   Etrade   Trade   08/10/2021   05:53:20 PM            BUY                          3,881 $                 3.55 $             13,778                  211,767
[102] Rybarczyk, John   Etrade   Trade   08/10/2021   05:54:03 PM            BUY                          3,000 $                 3.54 $             10,620                  214,767
[103] Rybarczyk, John   Etrade   Trade   08/10/2021   05:56:09 PM            BUY                            200 $                 3.54 $                 708                 214,967
[104] Rybarczyk, John   Etrade   Trade   08/10/2021   05:56:24 PM            BUY                            189 $                 3.54 $                 669                 215,156
[105] Rybarczyk, John            Tweet   08/10/2021   07:59:00 PM   $ABVC GAPPER CANDIDATE
[106] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:03 PM            BUY                        23,309 $                  3.72 $             86,763                  238,465
[107] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:06 PM            BUY                            300 $                 3.95 $               1,185                 238,765
[108] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:08 PM            BUY                            300 $                 3.95 $               1,185                 239,065
[109] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:10 PM            BUY                            300 $                 3.95 $               1,185                 239,365
[110] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:15 PM            BUY                        10,000 $                  3.95 $             39,500                  249,365
[111] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:16 PM            BUY                        20,000 $                  3.95 $             79,000                  269,365
[112] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:17 PM            BUY                            100 $                 3.95 $                 395                 269,465
[113] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:18 PM            BUY                            597 $                 3.95 $               2,358                 270,062
[114] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:19 PM            BUY                            500 $                 3.95 $               1,975                 270,562
[115] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:26 PM            BUY                          5,700 $                 3.95 $             22,515                  276,262
[116] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:34 PM            BUY                            495 $                 3.95 $               1,955                 276,757
[117] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:39 PM            BUY                          1,792 $                 3.95 $               7,078                 278,549
[118] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:45 PM            BUY                            100 $                 3.95 $                 395                 278,649
[119] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:49 PM            BUY                          3,000 $                 3.95 $             11,850                  281,649
[120] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:50 PM            BUY                            250 $                 3.95 $                 988                 281,899
[121] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:53 PM            BUY                            100 $                 3.95 $                 395                 281,999
[122] Rybarczyk, John   Etrade   Trade   08/10/2021   07:59:55 PM            BUY                            100 $                 3.95 $                 395                 282,099
[123] Rybarczyk, John            Tweet   08/10/2021   08:03:00 PM   $ABVC INSANE CLOSE! This Gaps huge. What a big bullish candle to close the day off
[124] Rybarczyk, John            Tweet   08/10/2021   08:27:00 PM   $ABVC Nice 69K candle 🕯
[125] Rybarczyk, John            Tweet   08/10/2021   08:42:00 PM   $ABVC Under $4 still super low risk here. Their bought offering was over $6 with series A warrants equal to $6.30 and Series B $10.00 https://t.co/dM2NKbIGxy
[126] Rybarczyk, John            Tweet   08/10/2021   11:21:00 PM   $ABVC All time high volume 4.5M. Still doing more DD on this name. Can be a super nova though. Based on today’s action can pull a $MDIA $NURO $FULC type move. Target 🎯 1: $6.00+Target 🎯 2: $8.00+Target 🎯 3: $10.00+"
[127] Rybarczyk, John            Tweet   08/11/2021   08:00:00 AM   No sleep just waking up too lol $ABVC looking strong still!! $4/ $4.50 breakouts next. $FULC day two of the run.
[128] Rybarczyk, John            Tweet   08/11/2021   08:06:00 AM   The 50‐100% runners are coming back! $ABVC should go huge too like $FULC once these algos kick on. Check the insider and tute ownership https://t.co/JMSn02gzCN
[129] Rybarczyk, John   Etrade   Trade   08/11/2021   08:09:55 AM            BUY                          1,100 $                 3.87 $               4,262                 283,199
[130] Rybarczyk, John   Etrade   Trade   08/11/2021   08:09:57 AM            BUY                             50 $                 3.88 $                 194                 283,249
[131] Rybarczyk, John   Etrade   Trade   08/11/2021   08:10:32 AM            BUY                             40 $                 3.88 $                 155                 283,289
[132] Rybarczyk, John   Etrade   Trade   08/11/2021   08:11:30 AM            BUY                        17,021 $                  3.97 $             67,585                  300,310
[133] Rybarczyk, John   Etrade   Trade   08/11/2021   08:11:31 AM            BUY                          1,200 $                 4.00 $               4,800                 301,510
[134] Rybarczyk, John   Etrade   Trade   08/11/2021   08:11:33 AM            BUY                             11 $                 4.00 $                  44                 301,521
[135] Rybarczyk, John   Etrade   Trade   08/11/2021   08:11:34 AM            BUY                            500 $                 4.00 $               2,000                 302,021
[136] Rybarczyk, John   Etrade   Trade   08/11/2021   08:11:35 AM            BUY                            500 $                 4.00 $               2,000                 302,521
[137] Rybarczyk, John   Etrade   Trade   08/11/2021   08:11:37 AM            BUY                            150 $                 4.00 $                 600                 302,671
[138] Rybarczyk, John   Etrade   Trade   08/11/2021   08:11:38 AM            BUY                            618 $                 4.00 $               2,472                 303,289
[139] Rybarczyk, John            Tweet   08/11/2021   08:24:00 AM   $ABVC Soaked a ton between yesterday and a few fills when I got up. High conviction play $6+ first target. Keep on your WL for coming days                     1
[140] Rybarczyk, John            Tweet   08/11/2021   09:05:00 AM   $ABVC Offering was $6.25 and closed quickly. Super enticing for accumulation at these levels. No brainer for me https://t.co/4y5PR3NYiR                        1
[141] Rybarczyk, John            Tweet   08/11/2021   09:10:00 AM   20 min! Top watches $ABVC $FULC $MDIA
[142] Rybarczyk, John            Tweet   08/11/2021   09:30:00 AM   $ABVC LONG $6+++                                                                                                                                               1
[143] Rybarczyk, John            Tweet   08/11/2021   09:32:00 AM   $ABVC $4.10 big key spot! Should explode off $FULC $MDIA Uplisters been hot                                                                                    1
[144] Rybarczyk, John            Tweet   08/11/2021   09:34:00 AM   $ABVC Over 1M volume. Second day in row of huge accumulation
[145] Rybarczyk, John   Etrade   Trade   08/11/2021   09:35:11 AM           SELL                           (613) $                4.03 $              (2,470)                302,676 $                     463
[146] Rybarczyk, John   Etrade   Trade   08/11/2021   09:35:12 AM           SELL                            (11) $                4.03 $                 (44)                302,665 $                       8
[147] Rybarczyk, John   Etrade   Trade   08/11/2021   09:35:17 AM           SELL                           (247) $                4.04 $                (997)                302,418 $                     184
[148] Rybarczyk, John   Etrade   Trade   08/11/2021   09:35:19 AM           SELL                           (270) $                4.03 $              (1,089)                302,148 $                     199
[149] Rybarczyk, John   Etrade   Trade   08/11/2021   09:35:20 AM           SELL                            (38) $                4.04 $                (153)                302,110 $                      28
[150] Rybarczyk, John   Etrade   Trade   08/11/2021   09:35:23 AM           SELL                           (118) $                4.03 $                (476)                301,992 $                      87
[151] Rybarczyk, John   Etrade   Trade   08/11/2021   09:35:24 AM           SELL                           (268) $                4.04 $              (1,082)                301,724 $                     198
[152] Rybarczyk, John   Etrade   Trade   08/11/2021   09:35:27 AM           SELL                         (1,467) $                4.03 $              (5,912)                300,257 $                   1,063
[153] Rybarczyk, John   Etrade   Trade   08/11/2021   09:36:55 AM           SELL                           (285) $                4.00 $              (1,140)                299,972 $                     192
[154] Rybarczyk, John   Etrade   Trade   08/11/2021   09:36:56 AM           SELL                            (40) $                4.00 $                (160)                299,932 $                      27
[155] Rybarczyk, John   Etrade   Trade   08/11/2021   09:36:57 AM           SELL                           (125) $                4.02 $                (503)                299,807 $                      87
[156] Rybarczyk, John   Etrade   Trade   08/11/2021   09:36:59 AM           SELL                             (5) $                4.00 $                 (20)                299,802 $                       3
[157] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:00 AM           SELL                           (125) $                4.02 $                (502)                299,677 $                      86
[158] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:01 AM           SELL                         (2,000) $                4.00 $              (8,000)                297,677 $                   1,369
[159] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:02 AM           SELL                         (2,100) $                4.00 $              (8,400)                295,577 $                   1,437
[160] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:03 AM           SELL                         (2,657) $                3.99 $            (10,597)                 292,920 $                   1,716
[161] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:04 AM           SELL                         (2,819) $                3.90 $            (11,004)                 290,101 $                   1,541
                                 Case 4:22-cr-00612 Document 324-1 Filed on 07/10/23 in TXSD Page 4 of 5


[162] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:05 AM           SELL                        (1,280) $               3.87 $             (4,949)   288,821   $      608
[163] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:06 AM           SELL                        (3,499) $               3.83 $            (13,411)   285,322   $    1,545
[164] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:07 AM           SELL                        (1,561) $               3.80 $             (5,939)   283,761   $      645
[165] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:08 AM           SELL                        (3,650) $               3.79 $            (13,837)   280,111   $    1,797
[166] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:09 AM           SELL                        (2,101) $               3.76 $             (7,901)   278,010   $      967
[167] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:10 AM           SELL                        (2,900) $               3.76 $            (10,890)   275,110   $    1,320
[168] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:11 AM           SELL                        (2,200) $               3.75 $             (8,252)   272,910   $      992
[169] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:12 AM           SELL                        (4,032) $               3.76 $            (15,166)   268,878   $    1,471
[170] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:13 AM           SELL                        (2,100) $               3.72 $             (7,810)   266,778   $      428
[171] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:14 AM           SELL                        (2,000) $               3.71 $             (7,423)   264,778   $      392
[172] Rybarczyk, John   Etrade   Trade   08/11/2021   09:37:15 AM           SELL                        (1,000) $               3.71 $             (3,712)   263,778   $      197
[173] Rybarczyk, John            Tweet   08/11/2021   09:40:00 AM   $ABVC Still goes $6+                                                                                             1
[174] Rybarczyk, John   Etrade   Trade   08/11/2021   09:41:05 AM           SELL                        (2,000) $               3.89 $             (7,770)   261,778 $        98
[175] Rybarczyk, John            Tweet   08/11/2021   09:44:00 AM   Called out Uplistings that went 100‐200% recently. So I know what $ABVC will do.                                 1
[176] Rybarczyk, John            Tweet   08/11/2021   09:46:00 AM   $ABVC NHOD! Parabolic MODE soon like $FULC                                                                       1
[177] Rybarczyk, John            Tweet   08/11/2021   09:49:00 AM   $ABVC Long … Res breakouts $4.25… $4.68 … $5 …. $6                                                               1
[178] Rybarczyk, John   Etrade   Trade   08/11/2021   09:49:59 AM           SELL                        (2,000) $               3.96 $             (7,922)   259,778   $       42
[179] Rybarczyk, John   Etrade   Trade   08/11/2021   09:50:10 AM           SELL                        (2,000) $               4.03 $             (8,052)   257,778   $      172
[180] Rybarczyk, John   Etrade   Trade   08/11/2021   09:55:02 AM           SELL                        (1,577) $               4.03 $             (6,358)   256,201   $      144
[181] Rybarczyk, John   Etrade   Trade   08/11/2021   09:55:13 AM           SELL                        (2,000) $               4.00 $             (8,009)   254,201   $      129
[182] Rybarczyk, John   Etrade   Trade   08/11/2021   09:59:15 AM           SELL                       (59,020) $               3.77 $          (222,417)    195,181   $   21,411
[183] Rybarczyk, John   Etrade   Trade   08/11/2021   09:59:17 AM           SELL                       (25,181) $               3.65 $            (91,923)   170,000   $    7,566
[184] Rybarczyk, John   Etrade   Trade   08/11/2021   10:00:38 AM           SELL                        (1,700) $               3.76 $             (6,395)   168,300   $      700
[185] Rybarczyk, John   Etrade   Trade   08/11/2021   10:00:49 AM           SELL                        (1,700) $               3.77 $             (6,409)   166,600   $      714
[186] Rybarczyk, John   Etrade   Trade   08/11/2021   10:01:01 AM           SELL                        (1,700) $               3.77 $             (6,409)   164,900   $      714
[187] Rybarczyk, John   Etrade   Trade   08/11/2021   10:01:23 AM           SELL                        (1,700) $               3.77 $             (6,410)   163,200   $      715
[188] Rybarczyk, John   Etrade   Trade   08/11/2021   10:01:45 AM           SELL                        (1,700) $               3.77 $             (6,409)   161,500   $      714
[189] Rybarczyk, John   Etrade   Trade   08/11/2021   10:02:00 AM           SELL                        (1,700) $               3.78 $             (6,432)   159,800   $      737
[190] Rybarczyk, John   Etrade   Trade   08/11/2021   10:02:10 AM           SELL                        (1,700) $               3.82 $             (6,494)   158,100   $      799
[191] Rybarczyk, John   Etrade   Trade   08/11/2021   10:02:48 AM           SELL                        (1,700) $               3.84 $             (6,531)   156,400   $      836
[192] Rybarczyk, John   Etrade   Trade   08/11/2021   10:03:00 AM           SELL                        (1,700) $               3.82 $             (6,500)   154,700   $      805
[193] Rybarczyk, John   Etrade   Trade   08/11/2021   10:04:35 AM           SELL                        (1,700) $               3.83 $             (6,511)   153,000   $      816
[194] Rybarczyk, John            Tweet   08/11/2021   10:05:00 AM   $ABVC Not anywhere near done. Full position intact. 90% of swings all explode                                    1
[195] Rybarczyk, John   Etrade   Trade   08/11/2021   10:10:34 AM           SELL                        (1,700) $               3.92 $             (6,667)   151,300   $      972
[196] Rybarczyk, John   Etrade   Trade   08/11/2021   10:10:55 AM           SELL                        (1,513) $               3.89 $             (5,886)   149,787   $      817
[197] Rybarczyk, John   Etrade   Trade   08/11/2021   10:11:05 AM           SELL                        (1,513) $               3.89 $             (5,886)   148,274   $      817
[198] Rybarczyk, John   Etrade   Trade   08/11/2021   10:18:25 AM           SELL                          (100) $               3.88 $               (388)   148,174   $       53
[199] Rybarczyk, John   Etrade   Trade   08/11/2021   10:18:30 AM           SELL                           (30) $               3.88 $               (116)   148,144   $       16
[200] Rybarczyk, John   Etrade   Trade   08/11/2021   10:18:34 AM           SELL                        (2,000) $               3.82 $             (7,646)   146,144   $      946
[201] Rybarczyk, John   Etrade   Trade   08/11/2021   10:18:35 AM           SELL                          (500) $               3.80 $             (1,900)   145,644   $      225
[202] Rybarczyk, John   Etrade   Trade   08/11/2021   10:18:36 AM           SELL                          (500) $               3.80 $             (1,900)   145,144   $      225
[203] Rybarczyk, John   Etrade   Trade   08/11/2021   10:18:37 AM           SELL                        (4,870) $               3.80 $            (18,523)   140,274   $    2,208
[204] Rybarczyk, John   Etrade   Trade   08/11/2021   10:19:26 AM           SELL                        (1,482) $               3.83 $             (5,676)   138,792   $      711
[205] Rybarczyk, John   Etrade   Trade   08/11/2021   10:19:35 AM           SELL                        (1,482) $               3.86 $             (5,718)   137,310   $      753
[206] Rybarczyk, John   Etrade   Trade   08/11/2021   10:22:11 AM           SELL                        (1,500) $               3.72 $             (5,580)   135,810   $      555
[207] Rybarczyk, John   Etrade   Trade   08/11/2021   10:22:55 AM           SELL                        (1,358) $               3.70 $             (5,025)   134,452   $      476
[208] Rybarczyk, John   Etrade   Trade   08/11/2021   10:23:04 AM           SELL                        (1,358) $               3.70 $             (5,028)   133,094   $      479
[209] Rybarczyk, John   Etrade   Trade   08/11/2021   10:23:17 AM           SELL                        (1,358) $               3.69 $             (5,015)   131,736   $      466
[210] Rybarczyk, John   Etrade   Trade   08/11/2021   10:23:34 AM           SELL                        (1,358) $               3.69 $             (5,004)   130,378   $      455
[211] Rybarczyk, John   Etrade   Trade   08/11/2021   10:23:43 AM           SELL                        (1,358) $               3.67 $             (4,984)   129,020   $      435
[212] Rybarczyk, John   Etrade   Trade   08/11/2021   10:23:52 AM           SELL                        (1,358) $               3.68 $             (4,996)   127,662   $      447
[213] Rybarczyk, John   Etrade   Trade   08/11/2021   10:24:03 AM           SELL                        (1,358) $               3.69 $             (5,011)   126,304   $      462
[214] Rybarczyk, John   Etrade   Trade   08/11/2021   10:24:15 AM           SELL                        (1,358) $               3.70 $             (5,025)   124,946   $      475
[215] Rybarczyk, John   Etrade   Trade   08/11/2021   10:24:25 AM           SELL                        (1,358) $               3.72 $             (5,045)   123,588   $      496
[216] Rybarczyk, John   Etrade   Trade   08/11/2021   10:24:34 AM           SELL                        (1,358) $               3.71 $             (5,038)   122,230   $      489
[217] Rybarczyk, John   Etrade   Trade   08/11/2021   10:24:44 AM           SELL                        (1,358) $               3.70 $             (5,025)   120,872   $      475
[218] Rybarczyk, John   Etrade   Trade   08/11/2021   10:24:54 AM           SELL                        (1,358) $               3.71 $             (5,033)   119,514   $      483
[219] Rybarczyk, John   Etrade   Trade   08/11/2021   10:25:08 AM           SELL                        (1,358) $               3.69 $             (5,013)   118,156   $      464
[220] Rybarczyk, John   Etrade   Trade   08/11/2021   10:25:26 AM           SELL                        (1,358) $               3.67 $             (4,982)   116,798   $      433
[221] Rybarczyk, John   Etrade   Trade   08/11/2021   10:25:42 AM           SELL                        (1,358) $               3.66 $             (4,970)   115,440   $      421
[222] Rybarczyk, John   Etrade   Trade   08/11/2021   10:26:01 AM           SELL                        (1,154) $               3.65 $             (4,212)   114,286   $      346
[223] Rybarczyk, John   Etrade   Trade   08/11/2021   10:26:11 AM           SELL                        (1,154) $               3.65 $             (4,212)   113,132   $      346
[224] Rybarczyk, John   Etrade   Trade   08/11/2021   10:26:21 AM           SELL                        (1,154) $               3.65 $             (4,216)   111,978   $      350
[225] Rybarczyk, John   Etrade   Trade   08/11/2021   10:26:29 AM           SELL                        (1,154) $               3.55 $             (4,100)   110,824   $      234
[226] Rybarczyk, John   Etrade   Trade   08/11/2021   10:26:52 AM           SELL                        (1,108) $               3.46 $             (3,835)   109,716   $      123
[227] Rybarczyk, John   Etrade   Trade   08/11/2021   10:27:03 AM           SELL                        (1,108) $               3.49 $             (3,861)   108,608   $      150
[228] Rybarczyk, John   Etrade   Trade   08/11/2021   10:27:12 AM           SELL                        (1,108) $               3.47 $             (3,845)   107,500   $      133
[229] Rybarczyk, John   Etrade   Trade   08/11/2021   10:27:23 AM           SELL                        (1,108) $               3.42 $             (3,789)   106,392   $       78
[230] Rybarczyk, John   Etrade   Trade   08/11/2021   10:27:39 AM           SELL                        (1,063) $               3.43 $             (3,646)   105,329   $       85
[231] Rybarczyk, John   Etrade   Trade   08/11/2021   10:27:49 AM           SELL                        (1,063) $               3.42 $             (3,631)   104,266   $       70
[232] Rybarczyk, John   Etrade   Trade   08/11/2021   10:28:00 AM           SELL                        (1,063) $               3.40 $             (3,617)   103,203   $       61
[233] Rybarczyk, John   Etrade   Trade   08/11/2021   10:28:11 AM           SELL                        (1,063) $               3.40 $             (3,614)   102,140   $      (81)
[234] Rybarczyk, John   Etrade   Trade   08/11/2021   10:28:58 AM           SELL                        (1,021) $               3.45 $             (3,524)   101,119   $      (60)
[235] Rybarczyk, John   Etrade   Trade   08/11/2021   10:29:08 AM           SELL                        (1,021) $               3.47 $             (3,543)   100,098   $      (71)
[236] Rybarczyk, John   Etrade   Trade   08/11/2021   10:29:17 AM           SELL                        (1,021) $               3.45 $             (3,523)    99,077   $      (92)
[237] Rybarczyk, John   Etrade   Trade   08/11/2021   10:29:28 AM           SELL                        (1,021) $               3.43 $             (3,504)    98,056   $     (110)
[238] Rybarczyk, John   Etrade   Trade   08/11/2021   10:29:37 AM           SELL                        (1,021) $               3.45 $             (3,522)    97,035   $      (92)
[239] Rybarczyk, John   Etrade   Trade   08/11/2021   10:30:17 AM           SELL                        (1,500) $               3.47 $             (5,198)    95,535   $     (112)
[240] Rybarczyk, John   Etrade   Trade   08/11/2021   10:31:11 AM           SELL                        (1,500) $               3.51 $             (5,258)    94,035   $      (66)
[241] Rybarczyk, John   Etrade   Trade   08/11/2021   10:31:30 AM           SELL                        (1,500) $               3.52 $             (5,281)    92,535   $      (44)
[242] Rybarczyk, John   Etrade   Trade   08/11/2021   10:31:40 AM           SELL                        (1,500) $               3.55 $             (5,322)    91,035   $        2
[243] Rybarczyk, John   Etrade   Trade   08/11/2021   10:31:50 AM           SELL                        (1,500) $               3.60 $             (5,402)    89,535   $       91
[244] Rybarczyk, John   Etrade   Trade   08/11/2021   10:32:00 AM           SELL                        (1,500) $               3.57 $             (5,362)    88,035   $       34
                                                                     Case 4:22-cr-00612 Document 324-1 Filed on 07/10/23 in TXSD Page 5 of 5


[245] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:32:11 AM              SELL                       (1,500) $               3.56 $                 (5,342)                    86,535 $                   (241)
[246] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:33:30 AM              SELL                       (1,500) $               3.52 $                 (5,280)                    85,035 $                   (303)
[247] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:33:40 AM              SELL                       (5,000) $               3.53 $                (17,650)                    80,035 $                   (962)
[248] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:33:52 AM              SELL                       (5,000) $               3.53 $                (17,648)                    75,035 $                   (964)
[249] Rybarczyk, John                                               Tweet              08/11/2021           10:34:00 AM      $ABVC Near entry now. Holding 300K full                                                                                                          1
[250] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:34:09 AM              SELL                       (5,000) $               3.52 $                (17,600)                    70,035 $                 (1,012)
[251] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:34:25 AM              SELL                       (1,500) $               3.51 $                 (5,265)                    68,535 $                   (318)
[252] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:34:36 AM              SELL                       (1,500) $               3.51 $                 (5,265)                    67,035 $                   (318)
[253] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:35:08 AM              SELL                       (1,500) $               3.56 $                 (5,333)                    65,535 $                   (251)
[254] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:35:22 AM              SELL                       (1,500) $               3.52 $                 (5,280)                    64,035 $                   (483)
[255] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:35:34 AM              SELL                       (1,500) $               3.54 $                 (5,311)                    62,535 $                   (614)
[256] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:35:51 AM              SELL                       (1,500) $               3.58 $                 (5,365)                    61,035 $                   (560)
[257] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:36:04 AM              SELL                       (1,500) $               3.62 $                 (5,423)                    59,535 $                   (503)
[258] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:36:14 AM              SELL                       (1,500) $               3.62 $                 (5,426)                    58,035 $                   (500)
[259] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:37:12 AM              SELL                       (1,500) $               3.65 $                 (5,480)                    56,535 $                   (445)
[260] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:37:27 AM              SELL                       (1,500) $               3.64 $                 (5,462)                    55,035 $                   (463)
[261] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:38:40 AM              SELL                       (1,500) $               3.63 $                 (5,441)                    53,535 $                   (484)
[262] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:39:05 AM              SELL                       (5,000) $               3.56 $                (17,804)                    48,535 $                 (1,946)
[263] Rybarczyk, John                      Etrade                   Trade              08/11/2021           10:39:32 AM              SELL                       (8,535) $               3.58 $                (30,553)                    40,000 $                 (3,160)
[264] Rybarczyk, John                      Etrade                   Trade              08/11/2021           11:36:18 AM              SELL                       (2,000) $               3.65 $                 (7,300)                    38,000 $                   (600)
[265] Rybarczyk, John                      Etrade                   Trade              08/11/2021           11:36:29 AM              SELL                       (2,000) $               3.64 $                 (7,290)                    36,000 $                   (611)
[266] Rybarczyk, John                      Etrade                   Trade              08/11/2021           11:37:25 AM              SELL                       (2,000) $               3.65 $                 (7,290)                    34,000 $                   (610)
[267] Rybarczyk, John                      Etrade                   Trade              08/11/2021           11:54:00 AM              SELL                       (2,000) $               3.59 $                 (7,180)                    32,000 $                   (720)
[268] Rybarczyk, John                      Etrade                   Trade              08/11/2021           11:54:25 AM              SELL                       (2,000) $               3.58 $                 (7,154)                    30,000 $                   (746)
[269] Rybarczyk, John                      Etrade                   Trade              08/11/2021           11:54:47 AM              SELL                       (2,000) $               3.59 $                 (7,175)                    28,000 $                   (725)
[270] Rybarczyk, John                      Etrade                   Trade              08/11/2021           11:54:58 AM              SELL                       (2,000) $               3.57 $                 (7,140)                    26,000 $                   (760)
[271] Rybarczyk, John                      Etrade                   Trade              08/11/2021           12:23:18 PM              SELL                       (2,600) $               3.52 $                 (9,141)                    23,400 $                 (1,129)
[272] Rybarczyk, John                      Etrade                   Trade              08/11/2021           12:23:27 PM              SELL                       (2,600) $               3.51 $                 (9,127)                    20,800 $                 (1,113)
[273] Rybarczyk, John                      Etrade                   Trade              08/11/2021           12:23:44 PM              SELL                       (2,600) $               3.50 $                 (9,100)                    18,200 $                 (1,147)
[274] Rybarczyk, John                      Etrade                   Trade              08/11/2021           12:24:01 PM              SELL                       (2,600) $               3.48 $                 (9,048)                    15,600 $                 (1,276)
[275] Rybarczyk, John                      Etrade                   Trade              08/11/2021           12:24:28 PM              SELL                       (2,600) $               3.46 $                 (8,999)                    13,000 $                 (1,325)
[276] Rybarczyk, John                      Etrade                   Trade              08/11/2021           12:24:54 PM              SELL                       (3,000) $               3.45 $                (10,356)                    10,000 $                 (1,556)
[277] Rybarczyk, John                      Etrade                   Trade              08/11/2021           12:25:04 PM              SELL                       (2,500) $               3.44 $                 (8,602)                     7,500 $                 (1,324)
[278] Rybarczyk, John                      Etrade                   Trade              08/11/2021           12:25:18 PM              SELL                       (2,500) $               3.43 $                 (8,582)                     5,000 $                 (1,345)
[279] Rybarczyk, John                      Etrade                   Trade              08/11/2021           12:25:31 PM              SELL                       (2,500) $               3.45 $                 (8,625)                     2,500 $                 (1,316)
[280] Rybarczyk, John                      Etrade                   Trade              08/11/2021           12:25:56 PM              SELL                       (2,500) $               3.43 $                 (8,565)                        ‐    $               (1,435)
[281] Rybarczyk, John                                               Tweet              08/11/2021           04:49:00 PM      $ABVC Strange action today . Bag holder here 👋 honestly doesn’t make sense. Ran from $3.30 to $4.40’s yesterday and to $4.20’s today. B          1
[282] Rybarczyk, John                                               Tweet              08/12/2021           10:30:00 AM      Me too sorry all about $ABVC Taking time to make sure next is a big winner. I’ll make sure it’s available to discord and Twitter same time too   1
[283] Rybarczyk, John                                               Tweet              08/12/2021           10:32:00 AM      ABVC was alerted 3.37 and ran to 4.48 34% but yes the action sucked afterwards. Felt like dilution or something.                                 1


       Notes:
 [1]   "Profit (FIFO)" calculates a profit for every sale equal to the sale price minus the purchase price of the earliest‐purchased shares not yet matched to a sale.
 [2]   The FIFO method works the same for short positions as for long positions but in the inverse—it matches purchases against the earliest sale that has not already been covered.
 [3]   There are a total of 13 allegedly false Tweets and Discord messages by John Rybarczyk. There are an additional 18 Tweet and Discord messages that reference ticker ABVC by John Rybarczyk.
 [4]   Green highlighted rows indicate BUY trades. Red highlighted rows indicate SELL trades. Yellow highlighted rows indicate allegedly false Tweet and Discord messages from all defendants during the episode, as well as non‐defendant Francis Sabo
 [5]   Non‐highlighted rows indicate Tweet or Discord messages from the trader that are not flagged as allegedly false.
 [6]   "ET" is short for "Eastern Time", referring to the US time zone which, from the second Sunday in March to the first Sunday in November, is 4 hours behind Coordinated Universal Time (“UTC”) and which, during the remainder of the year, is 5 hours behind UTC
